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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:08CR476
                                               )
              Plaintiff,                       )
                                               )                MEMORANDUM
              vs.                              )                 AND ORDER
                                               )
EMMANUEL JACKSON,                              )
                                               )
              Defendant.                       )

       This matter is before the Court on the Report and Recommendation (Filing No. 74)

issued by Magistrate Judge F.A. Gossett recommending denial of the Defendant’s Motion

to Suppress (Filing No. 49).        No objections have been filed to the Report and

Recommendation as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

       The Defendant seeks an order suppressing evidence seized and any inculpatory

statements made as a result of a warrantless search of a motor vehicle in which the

Defendant was a passenger on October 13, 2009.

       Notwithstanding the absence of objections, pursuant to 28 U.S.C. § 636(b)(1)(C) and

NECrimR 57.3, the Court has conducted a de novo review of the record. The Court has

read the parties’ briefs (Filing Nos. 51, 53) and the transcript (Filing No. 76). Judge Gossett

concluded: the investigative detention was based on a reasonable articulable suspicion of

criminal activity or, in the alternative, the initial contact was a consensual encounter;

officers had probable cause to search the vehicle; probable cause supported the

Defendant’s arrest; the Defendant knowingly and voluntarily waived his Miranda rights; and

his statement to law enforcement officers was voluntary. Because Judge Gossett fully,

carefully, and correctly applied the law to the facts, the Court adopts the Report and

Recommendation in its entirety.
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    IT IS ORDERED:

    1.    The Magistrate Judge’s Report and Recommendation (Filing No.74 ) is

          adopted in its entirety; and

    2.    The Defendant’s motion to suppress (Filing No. 49) is denied.

    DATED this 17th day of June, 2009.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge




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